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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA



     JUAN ABREU, individually, and on behalf of all                 Case No. 0:21-cv-62122
     others similarly situated,
          Plaintiff,                                          CLASS ACTION COMPLAINT

     v.                                                                JURY DEMAND


     PFIZER, INC.,
        Defendant




          Plaintiff Juan Abreu (“Plaintiff”), by and through their undersigned counsel, brings this

  action individually and on behalf of all others similarly situated, to seek economic damages for

  those who paid for or made reimbursements for generic varenicline-containing drugs (“VCDs”)

  that were illegally and willfully manufactured, distributed, and/or introduced into the market by

  Defendant Pfizer, Inc. (“Pfizer”).

                                            INTRODUCTION
          1.     This case arises from adulterated, misbranded, and unapproved varenicline-

  containing drugs (“VCDs”) that were designed, manufactured, marketed, distributed, packaged,

  and/or ultimately sold by Defendant Pfizer, Inc., in the United States under the brand name

  Chantix®. These VCDs are non-merchantable, and are not of the quality represented by Defendant.

          2.     The brand name drug Chantix is known generically as varenicline (as the tartrate

  salt), and is a partial nicotine agonist. It is a first-line therapy in the treatment to aid in smoking

  cessation. Unlike many other smoking cessation aids, Chantix does not contain nicotine.

          3.     Pfizer obtained approval from the United States Food and Drug Administration



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  (“FDA”) to sell Chantix as a first of its kind treatment in May 2006.

          4.       Chantix quickly became one of Pfizer’s fastest growing products. Major media

  spending on Chantix totaled $55 million in 2007 (the year after its approval). In the year Chantix

  was launched, Pfizer spent $4.3 million in medical journal advertisements alone.

          5.       The market rapidly embraced Chantix, and continues to do so to this day. For

  example, from launch through 2015, the number of Chantix prescriptions amongst Medicaid

  beneficiaries increased 13,277% (thirteen-thousand, two-hundred seventy-seven percent). 1

          6.        The price for Chantix has steadily climbed since its launch. Price estimates at

  launch were approximately $113.98, which climbed to $254.50 as of 2015. In 2018, the price

  nearly doubled to $485 for a 30-day supply, bringing in $997 million in sales that year. 2

          7.       The market for smoking cessation treatments remains robust and continues to grow.

  Pfizer’s Chantix sales remain strong, with sales of at least $919 million last year. Indeed, Chantix

  was Pfizer’s eight-best-selling product in 2020. To this day, Chantix remains one of the few, and

  most prevalent, smoking cessation drug treatments, and one of Pfizer’s top drug products. Pfizer

  extended patent protection on Chantix to ensure exclusivity through at least August 2022, thus

  ensuring Pfizer’s Chantix is the exclusive varenicline product without generic competition

  currently.

          8.       At all pertinent times for this action, Defendant represented and warranted to

  consumers that its VCDs were therapeutically equivalent to and otherwise the same as the FDA-

  approved brand name drug Chantix. Specifically, Defendant represented and warranted that the



  1
    Xiaomeng Yue, et al., TRENDS IN UTILIZATION, SPENDING, AND PRICES OF SMOKING-CESSATION MEDICATIONS IN
  MEDICAID PROGRAMS: 25 YEARS EMPIRICAL DATA ANALYSIS, 1991-2015, Am. Health Drug Benefits 2018 Sep;
  11(6):275-285, at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6207314/ (last accessed Sept. 27, 2021).
  2
    Price of Pfizer’s smoking-cessation drug Chantix doubles in just 5 years: report, Fierce Pharma (June 26, 2018) at
  https://www.fiercepharma.com/pfizer-hikes-price-smoking-cessation-drug-chantix-106-5-years-report (last accessed
  Sept. 27, 2021).


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  VCDs were fit for their ordinary uses, met the specifications of Defendant’s FDA-approved

  labeling materials, and were manufactured and distributed in accordance with all applicable laws

  and regulations.

          9.       However, Defendant willfully ignored warnings about the operating standards, and

  knowingly and fraudulently manufactured, sold, labeled, marketed, and/or distributed adulterated

  and/or misbranded VCDs for purchase in the United States by consumers.

          10.      Defendant VCDs were adulterated and/or misbranded (and thereby rendered

  worthless) through contamination with a probable human carcinogen known as n-nitroso-

  varenicline. Additionally, Defendant was on notice of other potential nitrosamines as well, such

  as n-nitrosdimethylamine (“NDMA”) and n-nitrosodiethlamine (“NDEA”).

          11.      According to the FDA and other global health authorities, nitrosamines are

  dangerous probable human carcinogens.

          12.      According to FDA testing, VCDs                 subject to this action contained NDMA

  contamination levels many times higher than the FDA’s updated interim limits for NDMA and

  other nitrosamine impurities.

          13.      On July 2, 2021, and July 19, 2021, Pfizer initiated recalls of VCDs “because [the

  product] may contain levels of a nitrosamine impurity, called N-nitroso-varenicline, above FDA’s

  acceptable intake limit.” 3 The FDA has yet to release full testing results for other nitrosamine

  impurities. On September 16, 2021, Pfizer extended its recall to all Chantix. 4

          14.      -Upon information and belief, N-nitroso-varenicline contamination of Defendant’s

  VCDs dates back many years, at which point Defendant had actual and/or constructive notice of


  3
    FDA Updates and Press Announcements on Nitrosamine in Varenicline (Chantix) at
  https://www.fda.gov/drugs/drug-safety-and-availability/fda-updates-and-press-announcements-nitrosamine-
  varenicline-chantix (last accessed Sept. 27, 2021).
  4
    https://www.fda.gov/safety/recalls-market-withdrawals-safety-alerts/pfizer-expands-voluntary-nationwide-recall-
  include-all-lots-chantixr-varenicline-tablets-due-n (last accessed Sept. 27, 2021).


                                                          3
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  the contamination.

         15.     Ironically, the Defendant’s wrongful acts resulted in persons who sought to use

  smoking products less end up with a Chantix pill that contained a carcinogen.

         16.     The Class Plaintiffs paid for VCDs that were illegally and willfully introduced into

  the market by Defendants, which caused them and the millions of other VCD consumers, to sustain

  economic damages. Defendant’s VCDs were not fit for their ordinary use and Defendant has been

  unjustly enriched through the sale of these knowingly adulterated and/or misbranded drugs.

  Defendant’s conduct, as detailed in this Complaint, also constitutes actionable common law fraud,

  consumer fraud, and other violations of state and federal law.

                                                PARTIES
     A. Plaintiff
         17.     Plaintiff Juan Abreu is a resident of Hollywood, Florida. During the class period,

  Plaintiff paid money for one or more of Defendant’s VCDs. The product purchased bore a unique

  National Drug Code (“NDC”) which denoted that it was indeed sold, manufactured, and/or

  distributed into the United States supply chain by Defendant. Defendant in this paragraph

  expressly and impliedly warranted to Plaintiff (either directly or indirectly by adopting warranties

  that were passed along to and incorporated by another Defendant further downstream and as

  mentioned in this paragraph) that their respective VCDs were the same as the branded Chantix.

  But in fact, Plaintiff bought a product that was not the same as Chantix. Had Plaintiff known the

  product was not the same, Plaintiff would not have paid for these Defendant’s VCDs. Likewise,

  had Defendant’s deception about the impurities within their products been made known earlier,

  Plaintiff would not have paid for Defendant’s VCDs.

     B. Defendant
         18.     Defendant Pfizer, Inc. (“Pfizer”) is a Delaware corporation with its principal place


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  of business at 235 East 42nd Street, New York, NY 10017. Pfizer on its own and/or through its

  subsidiaries regularly conducts business throughout the United States and its territories and

  possessions. At all times material to this case, Pfizer has been engaged in the manufacturing, sale,

  and distribution of adulterated and/or misbranded generic VCDs in the United States.

                                      FACTUAL ALLEGATIONS
    I.   Background
         A. Prescription Drug Reimbursement
         19.     The pharmaceutical supply chain in the United States consists of four major actors:

  pharmaceutical manufacturers, wholesale distributors, pharmacies, and Pharmacy Benefit

  Managers (“PBMs”).

         20.     Pharmaceutical manufacturers produce drugs that they distribute to wholesale

  distributors, who further distribute to retail or mail-order pharmacies. Pharmacies dispense the

  prescription drugs to beneficiaries for consumption. Prescription drugs are processed through

  quality and utilization management screens by PBMs.

         21.     Third-party payors (“TPPs”) contract with and pay PBMs to administer their drug

  programs. PBMs, acting as agents for the TPPs, are tasked with developing drug formularies (the

  list of drugs included in coverage at various pricing “tiers”), processing claims, creating a network

  of retail pharmacies, and negotiating with pharmaceutical manufacturers. TPPs pay PBMs to

  control prescription drug costs. In some instances, PBMs are responsible for placing generic drugs,

  such as VCDs, on the TPPs’ formularies.

         22.     In conducting formulary management, TPPs and their PBMs reasonably expect that

  generic prescription drugs reimbursable on their formularies are bioequivalent or otherwise the

  same as their RLD counterparts. TPPs seek to include the lowest cost generic drugs possible in

  their formularies. This is only made possible because of the manufacturers’ and distributors’


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  representations that these generic drugs, such as the Defendant’s VCDs, comply with their

  respective ANDAs, which state that the generic drugs are bioequivalent to their respective branded

  drug. Thus, the TPPs permitted the VCDs to be included on their formularies based on the

  Defendant’s misrepresentations that their VCDs were bioequivalent to Chantix, complied with all

  current Good Manufacturing Practices (“cGMPs”), and were safe for consumption.

          23.      The formulary placement corresponds with the amount that a plan participant must

  contribute as a co-payment when purchasing a drug — the higher the placement, the lower the co-

  payment, and the higher likelihood that plan beneficiaries will purchase the drug instead of a more

  expensive alternative. As a result, higher formulary placement increases the likelihood that a

  doctor will prescribe the drug. TPPs provide copies of their PBMs’ formularies to providers,

  pharmacists, and patients in their network to aid prescribers’ adherence to the formulary.

          24.      The following chart, published by the Wall Street Journal, broadly illustrates the




  pharmaceutical supply chain: 5

          25.      When a patient presents his/her prescription at a pharmacy, the drug’s placement

  on the TPP’s formulary will determine the amount of the patient’s co-payment. Once the patient’s


  5
   Joseph Walker, Drugmakers Point Finger at Middlemen for Rising Drug Prices, WALL ST. J. (Oct. 3, 2016), available
  at https://www.wsj.com/articles/drugmakers-point-finger-at-middlemen-for-rising-drug-prices-1475443336 (last
  accessed June 11, 2019).


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  prescription is filled, the pharmacy submits a claim to the PBM for reimbursement. PBMs then

  accumulate those individual reimbursements and present them to TPPs for payment.

      B. Prescription Drug Product Identification and Tracing

          26.        For each approved product (whether brand or generic) the FDA issues a unique 10-

  digit code (the National Drug Code, or NDC) that follows the product from manufacturing through

  retail dispensing. The NDC embeds details about the specific product, including the identity of the

  manufacturer (or labeler), the strength, dosage form, and formulation of the drug, and the package

  size and type. 6

          27.        The NDC is a critical component of each and every transfer of a prescription drug

  (from the manufacturer to the wholesaler; from the wholesaler to the retailer; and from the retailer

  to the consumer) and therefore every transaction is accompanied by and labeled with the NDC.

  This same code is used by TPPs in the real-time claims adjudication process to identify the precise

  dollar amount they will reimburse the pharmacy for a particular prescription drug purchase.

          28.        Retail prescription labels display the NDC of the dispensed product, which is part

  of the electronic dispensing record. In many cases, the “lot” number will also appear on the

  prescription bottle provided to the consumer and, thus, specifically indicate whether the recall

  applies to the particular pills in the bottle.7

          29.        The lot number is also used to report issues arising around a particular drug. For

  example, lot numbers are used by pharmacists to report Adverse Events (“AE”) (i.e., patient-

  specific side effects or complications associated with the use of a prescription drug). This is an

  important part of drug safety monitoring in the United States and has led to recalls or relabeling of



  6
    United States Food and Drug Administration, “National Drug Code Directory,” accessed June 9, 2021 at
  https://www.fda.gov/Drugs/InformationOnDrugs/ucm142438.htm; FDA, “National Drug Codes Explained,”
  accessed June 9, 2021 at https://www.drugs.com/ndc.html.
  7
    A lot number is an identification number tied to a particular lot of pills from a single manufacturer.


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  numerous drugs. Pharmacists make such reports using the FDA’s MedWatch system using Form

  3500. 8


      C. The Drug Supply Chain Security Act Requires Tracing of Product

            30.    The Drug Supply Chain Security Act (“DSCSA”) 9 was enacted in 2013, and

  requires prescription drug manufacturers, wholesalers, repackagers, and pharmacies to

  “[e]xchange information about a drug and who handled it each time it is sold in the U.S. market.”

            31.    The DSCSA was implemented as one part of the Drug Quality and Security Act

  (“DQSA”), aimed at addressing vulnerabilities in the drug supply chain, and facilitating tracing of
                                                                                          10
  certain prescription drugs in finished dosage form through the supply chain.

            32.    While the DSCSA was enacted in 2013, participants in the pharmaceutical supply

  chain (including various Defendant here) maintained similar information as a part of their ordinary

  course of business prior to the enactment of the DSCSA.

            33.    The DSCSA generally requires participants in the drug supply manufacturing chain

  (starting from the manufacturer, through the wholesaler, to the retail pharmacy) to retain, for every

  pharmaceutical drug transaction, the following information about that transaction: product name;

  National Drug Code; container size; number of containers; lot number; date of transaction; date of

  shipment; and name and address of the entity transferring ownership and taking ownership of the

  product.

            34.    The DSCSA requires that this data be kept in a manner to allow these authorized

  participants to respond within 48 hours to requests from appropriate federal or state officials — in


  8
       FDA, “Instructions for Completing Form FDA 3500,” accessed June 9, 2021 at
  https://www.fda.gov/safety/medwatch-forms-fda-safety-reporting/instructions-completing-form-fda-
  3500#Section%20B:%20Adverse%20Event%20or%20Product%20Problem.
  9
    21 U.S. Code § 360eee.
  10
     U.S. Department of Health and Human Services, Drug Supply Chain Security: Dispensers Received Most Tracing
  Information, March 2018, accessed March 11, 2020 at https://oig.hhs.gov/oei/reports/oei-05-16-00550.pdf, at p. 2.


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  the event of a recall or for the purpose of investigating suspect product or an illegitimate product
                                                                 11
  — for the transaction history of the pharmaceutical product.

           35.   The supply chain for distribution of prescription drugs in the U.S. is highly

  concentrated. This means that data obtained from a relatively small number of market participants

  can provide detailed information about the large majority of VCD sales, transfers and prescription

  fills.

           36.   The entire process of reimbursing pharmacies and consumers for end-purchases

  depends upon the ability to know the precise drug and packaging that was dispensed, as well as

  the manufacturer of that drug. This system has necessarily resulted in very high levels of data

  standardization in this industry. Although pharmacies maintain their own “pharmacy log” data

  reflecting dispensing, sales and return activity, the key elements are fundamentally similar.

           37.   Because pharmacies require similar information for their own tracking and

  inventory systems, and wholesalers sell to multiple pharmacy chains, the key elements are

  fundamentally the same.

           38.   Further, all pharmacies must use the basic data fields, definitions and formats

  provided in the Telecommunications Guidelines developed by the National Council for

  Prescription Drug Programs, the use of which was made mandatory in 2003 under regulations

  implementing the Health Insurance Portability and Accountability Act (HIPAA). 12 Because of

  these HIPAA requirements, all of these inter-related systems (Manufacturers, Wholesalers,

  Retailers, and TPPs) use a common language to identify products.

           39.   As a general matter, for Medicare and Medicaid compliance, pharmacies typically


  11
     FDA, Title II of the Drug Quality and Security Act, December 16, 2014, accessed March 11, 2020 at
  https://www.fda.gov/drugs/drug-supply-chain-security-act-dscsa/title-ii-drug-quality-and-security-act.
  12
     Federal Register, August 17, 2000 (Volume 65, Number 160), at pp. 50311-50372; NCPDP, Pharmacy: A
  Prescription for Improving the Healthcare System, October 2009, accessed January 30, 2019 at
  https://www.ncpdp.org/NCPDP/media/pdf/wp/RxforImprovingHealthcare.pdf, at p. 14.


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  keep prescription records for ten years. 13

          40.      A key part of the DSCSA is the requirement that “product tracing information

  should be exchanged” for each transaction and retained for at least six years, 14 including the

  following transaction information (“TI”): 15

                            •   Proprietary or established name or names of the product
                            •   Strength and dosage form of the product
                            •   National Drug Code (NDC) number of the product
                            •   Container size
                            •   Number of containers
                            •   Lot number of the product
                            •   Date of the transaction
                            •   Date of the shipment, if more than 24 hours after the date of the
                                transaction
                            •   Business name and address of the person from whom and to whom
                                ownership is being transferred

          41.      For example, the DSCSA also mandates use of a composite “product identifier”

  that Manufacturer Defendant were required to begin applying to prescription drug packages and

  cases. 16

          42.      The term “product identifier” “means a standardized graphic that includes, in both

  human-readable form and on a machine-readable data carrier … the standardized numerical

  identifier, lot number, and expiration date of the product.” 17

          43.      Publicly available Guidelines published by AmerisourceBergen require that “each

  Prescription Drug lowest saleable unit” it receives from a manufacturer must have the clearly



  13
     CFR § 423.505(d)
  14
     FDA, Protect Your Patients, accessed June 9, 2021 at https://www.fda.gov/media/113114/download; DSCSA,
  Sections 582 (b)(1)(A)(ii), 582 (c)(bb)(BB)(II)(v)(I), 582 (d)(1)(A)(iii).
  15
     FDA, Drug Supply Chain Security Act (Title II of the Drug Quality and Security Act) Overview of Product Tracing
  Requirements, September 2015, accessed June 9, 2021 at https://www.fda.gov/media/93779/download, at pp. 8-9.
  16
     Enforcement of this rule was delayed by the FDA until November 2018. DA, Product Identifier Requirements Under
  the Drug Supply Chain Security Act – Compliance Policy Guidance for Industry, September 2018, accessed June 9,
  2021        at       https://www.fda.gov/regulatory-information/search-fda-guidance-documents/product-identifier-
  requirements-under-drug-supply-chain-security-act-compliance-policy-guidance.
  17
     21 U.S. Code § 360eee.(14).


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  indicated product identifier on the unit label. 18 In addition, case labels, and partial case labels must

  list the lot number and expiration date. 19 The Guidelines illustrate these requirements as

  reproduced below.

                     AmerisourceBergen Manufacturer Labeling Requirements 20




  18
     AmerisourceBergen, AmerisourceBergen Manufacturer Packaging and Logistics Requirements Guide, accessed
  June 9, 2021 at https://www.amerisourcebergen.com/-/media/assets/amerisourcebergen/manufacturer/manufacturer-
  logistics-guideline-final-v14.pdf?la=en&hash=5297B4C716DBBE9A956F31CD2B194BD165F97465, at p. 14.
  19
     AmerisourceBergen, AmerisourceBergen Manufacturer Packaging and Logistics Requirements Guide, accessed
  February                 25,             2020             at               https://www.amerisourcebergen.com/-
  /media/assets/amerisourcebergen/manufacturer/manufacturer-logistics-guideline-final-
  v14.pdf?la=en&hash=5297B4C716DBBE9A956F31CD2B194BD165F97465, at pp. 15-16.
  20
     AmerisourceBergen, AmerisourceBergen Manufacturer Packaging and Logistics Requirements Guide, accessed
  June 9, 2021 at https://www.amerisourcebergen.com/-/media/assets/amerisourcebergen/manufacturer/manufacturer-
  logistics-guideline-final-v14.pdf?la=en&hash=5297B4C716DBBE9A956F31CD2B194BD165F97465, at pp. 14, 15,
  16.


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         D. The Drug Approval Framework

             44.      Brand drug companies submitting a New Drug Application (“NDA”) must

  demonstrate clinical safety and efficacy through well-designed clinical trials. 21 U.S.C. § 355 et

  seq.

             45.      The NDA is the vehicle through which drug sponsors formally propose that the

  FDA approve a new drug for sale and marketing in the United States.

             46.      An NDA is supposed to provide enough information to permit the FDA to decide

  (i) whether the drug is safe and effective for its proposed use(s) and whether the benefits of the

  drug outweigh the risks; (ii) whether the drug’s proposed labeling is appropriate and what it should

  contain; and (iii) whether the methods used in manufacturing the drug and the controls used to

  maintain the drug’s quality are adequate to preserve the drug’s identity, strength, quality, and

  purity. 21

             47.      As the FDA puts it, the submitted NDA documentation “is supposed to tell the

  drug’s whole story,” including “what the ingredients of the drug are.” 22

             48.      If a branded drug manufacturer ceases to manufacture a drug that meets all terms

  of its NDA approval, or in other words, when the drug is not the same as its corresponding brand-


  21
       See, e.g., https://www.fda.gov/drugs/types-applications/new-drug-application-nda (last accessed Sept. 27, 2021).
  22
       Id.


                                                             12
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  name drug, then the manufacturer has created an entirely new and unapproved drug.

         49.     If a branded drug manufacturer ceases to manufacture a drug that meets all terms

  of its NDA approval, or in other words, when the drug is not the same as its corresponding brand-

  name drug, the generic manufacturer may no longer rely on the brand-name drug’s labeling.

     E. Approval of the NDA for Chantix

         50.     Chantix is known generically as varenicline (as the tartrate salt), and is a partial

  nicotine agonist. It is a first-line therapy in the treatment to aid in smoking cessation. At a very

  high level,. The drug works by interfering with the nicotine receptors in the human brain. This has

  the effect of lessening the pleasure a person gets from smoking, or lessening the craving to smoke.

         51.     The FDA approved Chantix in May 2006. Pfizer later succeeded in extending its

  patent exclusivity for Chantix through August 2022, meaning Chantix has not faced generic drug

  competition since its launch.

         52.     Chantix’s FDA-approved labeling specifies the active and inactive ingredients.

  Neither N-nitroso-varenicline nor NDMA nor any other nitrosamine is listed among the FDA-

  approved ingredients nor are any of these contaminants FDA-approved ingredients of any

  varenicline-containing product.

     F. Drugs Must Be Manufactured in Compliance with Good Manufacturing Practices

         53.     Under federal law, pharmaceutical drugs must be manufactured in accordance with

  “current Good Manufacturing Practices” (“cGMPs”) to ensure they meet safety, quality, purity,

  identity, and strength standards. See 21 U.S.C. § 351(a)(2)(B).

         54.     21 C.F.R. § 210.1(a) states that the cGMPs establish “minimum current good

  manufacturing practice for methods to be used in, and the facilities or controls to be used for, the

  manufacture, processing, packing, or holding of a drug to assure that such drug meets the

  requirements of the act as to safety, and has the identity and strength and meets the quality and


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  purity characteristics that it purports or is represented to possess.” In other words, entities at all

  phases of the design, manufacture, and distribution chain are bound by these requirements.

         55.     The FDA’s cGMP regulations are found in 21 C.F.R. Parts 210 and 211. These

  detailed regulations set forth minimum standards for: organization and personnel (Subpart B);

  buildings and facilities (Subpart C); equipment (Subpart D); control of components and drug

  product containers and closures (Subpart E); production and process controls (Subpart F);

  packaging and label controls (Subpart G); holding and distribution (Subpart H); laboratory controls

  (Subpart I); records and reports (Subpart J); and returned and salvaged drug products (Subpart K).

  The FDA has worldwide jurisdiction to enforce these regulations if the facility is making drugs

  intended to be distributed in the United States.

         56.     Under federal law, cGMPs include “the implementation of oversight and controls

  over the manufacture of drugs to ensure quality, including managing the risk of and establishing

  the safety of raw materials, materials used in the manufacturing of drugs, and finished drug

  products.” 21 U.S.C. § 351(j). Accordingly, it is a cGMP violation for a manufacturer to contract

  out prescription drug manufacturing without sufficiently ensuring the continuing quality of the

  subcontractors’ operations.

         57.     FDA regulations require a “quality control unit” to independently test drug product

  manufactured by another company on contract:

                 There shall be a quality control unit that shall have the responsibility
                 and authority to approve or reject all components, drug product
                 containers, closures, in-process materials, packaging material,
                 labeling, and drug products, and the authority to review production
                 records to assure that no errors have occurred or, if errors have
                 occurred, that they have been fully investigated. The quality control
                 unit shall be responsible for approving or rejecting drug products
                 manufactured, processed, packed, or held under contract by another
                 company. 21 C.F.R. § 211.22(a).




                                                     14
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             58.      Indeed, FDA regulations require a drug manufacturer to have “written procedures

  for production and process control designed to assure that the drug products have the identity,

  strength, quality, and purity they purport or are represented to possess.” 21 C.F.R. § 211.100.

             59.      A drug manufacturer’s “[l]aboratory controls shall include the establishment of

  scientifically sound and appropriate specifications, standards, sampling plans, and test procedures

  designed to assure that components, drug product containers, closures, in-process materials,

  labeling, and drug products conform to appropriate standards of identity, strength, quality, and

  purity.” 21 C.F.R. § 211.160.

             60.      “Laboratory records shall include complete data derived from all tests necessary to

  assure compliance with established specifications and standards, including examinations and

  assays” and a “statement of the results of tests and how the results compare with established

  standards of identity, strength, quality, and purity for the component, drug product container,

  closure, in-process material, or drug product tested.” 21 C.F.R. § 211.194.

         G. Adulterated or Misbranded Drugs Are Illegal to Sell

             61.      Any drug not manufactured in accordance with cGMPs is deemed “adulterated” or

  “misbranded” and may not be distributed or sold in the United States. See 21 U.S.C. §§ 331(a),

  351(a)(2)(B). States have enacted laws adopting or mirroring these federal standards.

             62.      Among the ways a drug may be adulterated and/or misbranded are:

                      a.      “if it has been prepared, packed, or held under unsanitary conditions

                              whereby it may have been contaminated with filth, or whereby it may have

                              been rendered injurious to health” 23 ;




  23
       21 U.S.C. § 351(a)(2)(A).


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                    b.       “if … the methods used in, or the facilities or controls used for, its

                             manufacture, processing, packing, or holding do not conform to or are not

                             operated or administered in conformity with current good manufacturing

                             practice to assure that such drug meets the requirements … as to safety and

                             has    the   identity    and    strength,   and    meets    the   quality     and

                             purity characteristics, which it purports or is represented to possess” 24;

                    c.       “If it purports to be or is represented as a drug the name of which is

                             recognized in an official compendium, and … its quality or purity falls

                             below, the standard set forth in such compendium” 25; and/or

                    d.       “If … any substance has been (1) mixed or packed therewith so as to reduce

                             its quality or strength or (2) substituted wholly or in part therefor.” 26

           63.      A drug is misbranded:

                    a.       “If its labeling is false or misleading in any particular” 27;

                    b.       “If any word, statement, or other information required … to appear on

                             the label or labeling is not prominently placed thereon…in such terms as to

                             render it likely to be read and understood by the ordinary individual under

                             customary conditions of purchase and use” 28;

                    c.       If the labeling does not contain, among other things, “the proportion of each

                             active ingredient” 29;




  24
     21 U.S.C. § 351(a)(2)(B).
  25
     21 U.S.C. § 351(b).
  26
     21 U.S.C. § 351(d).
  27
     21 U.S.C. § 352(a)(1).
  28
     21 U.S.C. § 352(c).
  29
     21 U.S.C. § 352(e)(1)(A)(ii)


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                    d.        “Unless its labeling bears (1) adequate directions for use; and (2) such

                              adequate warnings … against unsafe dosage or methods or duration of

                              administration or application, in such manner and form, as are necessary for

                              the protection of users” 30;

                    e.        “If it purports to be a drug the name of which is recognized in an official

                              compendium, unless it is packaged and labeled as prescribed therein” 31

                    f.        “if it is an imitation of another drug” 32;

                    g.        “if it is offered for sale under the name of another drug” 33;

                    h.        “If it is dangerous to health when used in the dosage or manner, or with the

                              frequency or duration prescribed, recommended, or suggested in

                              the labeling thereof” 34;

                    i.        If the drug is advertised incorrectly in any manner 35; and/or

                    j.        If the drug’s “packaging or labeling is in violation of an applicable

                              regulation.” 36

           64.      The manufacture and sale of any adulterated or misbranded drug is prohibited under

  federal law. 37

           65.      The introduction into commerce of any adulterated or misbranded drug is also

  prohibited. 38

           66.      Similarly, the receipt in interstate commerce of any adulterated or misbranded or


  30
     21 U.S.C. § 352(f).
  31
     21 U.S.C. § 352(g).
  32
     21 U.S.C. § 352(i)(2).
  33
     21 U.S.C. § 352(i)(3).
  34
     21 U.S.C. § 352(j).
  35
     21 U.S.C. § 352(n).
  36
     21 U.S.C. § 352(p).
  37
     21 U.S.C. § 331(g).
  38
     21 U.S.C. § 331(a).


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  misbranded drug is also unlawful. 39

          67.     As articulated in this Complaint, Defendant’s’ unapproved VCD drugs were

  adulterated and/or misbranded in violation of all of the above-cited reasons.

          68.     Plaintiff’s reference federal law in this Complaint not in any attempt to enforce it,

  but to demonstrate that their state-law tort claims do not impose any additional obligations on

  Defendant, beyond what is already required of them under federal law.

   II.    The Drugs Purchased by Plaintiffs Were Not Chantix, But Adulterated and
          Misbranded Varenicline-Containing Drugs, Not of the Same Quality
          69.     The FDA’s website provides the definition for a drug:

                  The Federal Food Drug and Cosmetic Act (FD&C Act) and FDA
                  regulations define the term drug, in part, by reference to its intended
                  use, as “articles intended for use in the diagnosis, cure, mitigation,
                  treatment, or prevention of disease” and “articles (other than food)
                  intended to affect the structure or any function of the body of man
                  or other animals.” Therefore, almost any ingested or topical or
                  injectable product that, through its label or labeling (including
                  internet websites, promotional pamphlets, and other marketing
                  material), is claimed to be beneficial for such uses will be regulated
                  by FDA as a drug. The definition also includes components of
                  drugs, such as active pharmaceutical ingredients. 40

          70.     21 C.F.R. § 210.3(b)(7) defines an “active ingredient” in a drug as “any component

  that is intended to furnish pharmacological activity or other direct effect in the diagnosis, cure,

  mitigation, treatment, or prevention of disease, or to affect the structure or any function of the body

  of man or other animals. The term includes those components that may undergo chemical change

  in the manufacture of the drug product and be present in the drug product in a modified form

  intended to furnish the specified activity or effect.” 41

          71.     Accordingly, the FDA requires the submission of a New Drug Application by



  39
     21 U.S.C. § 331(c).
  40
     https://www.fda.gov/ForIndustry/ImportProgram/ImportBasics/RegulatedProducts/ucm511482.htm#drug.
  41
     https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfcfr/CFRSearch.cfm?fr=210.3.


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  manufacturers whenever a new active ingredient is added to a drug, as the drug has become a new

  and differing drug from those previously approved by the FDA. Absent such an application,

  followed by a review and approval by the FDA, the new drug remains a distinct, unapproved

  product. 42

          72.      This new and unapproved drug with additional active ingredients (such as

  nitrosamines in the subject VCDs) cannot have the same label as the brand-name drug, as the two

  products are no longer the same.

          73.      At the very least and alternatively, drugs with differing and dangerous ingredients

  than brand-name counterparts are adulterated or misbranded under federal law, and the sale or

  introduction into commerce of adulterated or misbranded drugs is illegal. 43

          74.      Here, N-nitroso-varenicline and other nitrosamines resulted from the deficient

  manufacturing process of the VCDs, rendering the VCDs different than the NDA-approved version

  of Chantix. Importantly, N-nitroso-varenicline and other nitrosamines can cause cancer by

  triggering genetic mutations in humans. This mutation affects the structure of the human body,

  and thus, N-nitroso-varenicline and other nitrosamines are, by definition, an active ingredient in a

  drug.

          75.      Because the VCDs ingested by Plaintiff were never approved or even reviewed by

  the FDA, the FDA never conducted an assessment of safety or effectiveness for these drugs.

          76.      The presence of additional active ingredients (N-nitroso-varenicline and other

  nitrosamines), and potentially other deviations from Defendant’s NDA approval rendered

  Defendant’s VCDs of a lesser quality than FDA-approved Chantix.




  42
    See 21 C.F.R. § 310.3(h).
  43
     See generally https://www.justice.gov/opa/pr/generic-drug-manufacturer-ranbaxy-pleads-guilty-and-agrees-pay-
  500-million-resolve-false (last accessed June 6, 2019).


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           77.      Plaintiffs reference federal law in this Complaint not in any attempt to enforce it,

  but to demonstrate that their state-law tort claims do not impose any additional obligations on

  Defendants, beyond what is already required of them under federal law.

  III.     Defendant Made False Statements in the Labeling
           78.      A manufacturer must give adequate directions for the use of a pharmaceutical drug

  so that a “layman can use a drug safely and for the purposes for which it is intended,” 44 and

  conform to requirements governing the appearance of the label. 45

           79.       “Labeling” encompasses all written, printed or graphic material accompanying the

  drug or device, 46 and therefore broadly includes nearly every form of promotional activity,

  including not only “package inserts” but also advertising.

           80.      “Most, if not all, labeling is advertising. The term ‘labeling’ is defined in the FDCA

  as including all printed matter accompanying any article. Congress did not, and we cannot, exclude

  from the definition printed matter which constitutes advertising.” 47

           81.      If a manufacturer labels a drug but omits ingredients, that renders the drug

  misbranded. 48

           82.      Because Defendant did not disclose that its product contained N-nitroso-varenicline

  or other nitrosamines as an ingredient, the subject drugs were misbranded.

           83.      In addition, by referring to their drugs as “Chantix”, Defendant was making false

  statements regarding Chantix.

           84.      It is unlawful to introduce a misbranded drug into interstate commerce. 49 Thus, the



  44
     21 C.F.R. § 201.5.
  45
     21 C.F.R. § 801.15.
  46
     Id. 65 Fed. Reg. 14286 (March 16, 2000).
  47
     U.S. v. Research Labs., 126 F.2d 42, 45 (9th Cir. 1942).
  48
     21 C.F.R. § 201.6; 201.10.
  49
     21 U.S.C. § 331(a).


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  Chantix products ingested by Plaintiff were unlawfully distributed and sold.

   IV.    Defendant Represented VCDs were Manufactured in Compliance with Current
          Good Manufacturing Practices
         85.     Under federal law, cGMPs include “the implementation of oversight and controls

  over the manufacture of drugs to ensure quality, including managing the risk of and establishing

  the safety of raw materials, materials used in the manufacturing of drugs, and finished drug

  products.” 21 U.S.C. § 351(j). Accordingly, it is a cGMP violation for a manufacturer to contract

  out prescription drug manufacturing without sufficiently ensuring the continuing quality of the

  subcontractors’ operations.

         86.     FDA regulations require a “quality control unit” to independently test drug product

  manufactured by another company on contract:

                 There shall be a quality control unit that shall have the responsibility
                 and authority to approve or reject all components, drug product
                 containers, closures, in-process materials, packaging material,
                 labeling, and drug products, and the authority to review production
                 records to assure that no errors have occurred or, if errors have
                 occurred, that they have been fully investigated. The quality control
                 unit shall be responsible for approving or rejecting drug products
                 manufactured, processed, packed, or held under contract by another
                 company. 21 C.F.R. § 211.22(a).

          87.    Indeed, FDA regulations require a drug manufacturer to have “written procedures

  for production and process control designed to assure that the drug products have the identity,

  strength, quality, and purity they purport or are represented to possess.” 21 C.F.R. § 211.100.

          88.    A drug manufacturer’s “[l]aboratory controls shall include the establishment of

  scientifically sound and appropriate specifications, standards, sampling plans, and test procedures

  designed to assure that components, drug product containers, closures, in-process materials,

  labeling, and drug products conform to appropriate standards of identity, strength, quality, and

  purity.” 21 C.F.R. § 211.160.



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         89.     “Laboratory records shall include complete data derived from all tests necessary to

  assure compliance with established specifications and standards, including examinations and

  assays” and a “statement of the results of tests and how the results compare with established

  standards of identity, strength, quality, and purity for the component, drug product container,

  closure, in-process material, or drug product tested.” 21 C.F.R. § 211.194.

         90.     Defendant’s VCDs did not conform with the NDA specifications, which

  demonstrates inadequate production, process, and quality oversight by Defendant.

   V.    Defendant’s Actions Resulted in Adulterated and Misbranded VCDs Contaminated
         91.     On October 26, 2020, Health Canada, the FDA analogue for Canada, sent a letter

  to Apotex, Inc. concerning risk of the presence of nitrosamine impurities in drugs.

         92.     Apotex was the distributor of Chantix in Canada on Defendant’s behalf.

         93.     Health Canada informed Apotex that it had been informed by other global

  regulators “of the prences of new nitrosamine impurities in varenicline API [active pharmaceutical

  ingredient]:   7,8-dinitro-1,2,4,5-tetrahydro-3H-1,5-methanobenzo[d]azepin-N-nitrosamine, 1-

  (7,8-diamino-1,2,4,5-tetrahydro-3H-1,5-methanobenzo[o'1azepin-3-yl)-N-nitrosamine and N-

  nitroso varenicline.”

         94.     Health Canada continued: “After a preliminary internal review conducted by

  Health Canada, it was concluded that there is risk for formation of these new nitrosamines

  impurities for all MAHs of varenicline drug products in Canada. Additional risks for other

  nitrosamines (e.g. NOMA, N-nitrosodiethylamine (NOEA)) might exist if nitrocellulose is being

  used as a component of the blister packaging for varenicline products.”

         95.     N-nitrosodimethylamine, commonly known as NDMA, is an odorless, yellow




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  liquid. 50

           96.    According to the U.S. Environmental Protection Agency, “NDMA is a semivolatile

  chemical that forms in both industrial and natural processes.” 51

           97.    NDMA can be unintentionally produced in and released from industrial sources

  through chemical reactions involving other chemicals called alkylamines.

           98.    The American Conference of Governmental Industrial Hygienists classifies NDMA

  as a confirmed animal carcinogen. 52

           99.    The U.S. Department of Health and Human Services (“DHHS”) similarly states

  that NDMA is reasonably anticipated to be a human carcinogen. 53 This classification is based

  upon DHHS’s findings that NDMA caused tumors in numerous species of experimental animals,

  at several different tissue sites, and by several routes of exposure, with tumors occurring primarily

  in the liver, respiratory tract, kidney, and blood vessels. 54

           100.   According to the Agency for Toxic Substances and Disease Registry, “NDMA is

  very harmful to the liver of humans and animals. People who were intentionally poisoned on one

  or several occasions with unknown levels of NDMA in beverage or food died of severe liver

  damage accompanied by internal bleeding.” 55

           101.   WHO and IARC classify NDMA as one of sixty-six agents that are “probably

  carcinogenic to humans” (Classification 2A).

           102.   Anecdotally, NDMA has also been used in intentional poisonings. 56


  50
     https://www.atsdr.cdc.gov/toxprofiles/tp141.pdf.
  51
     https://www.epa.gov/sites/production/files/2017-10/documents/ndma_fact_sheet_update_9-15-17_508.pdf.
  52
     https://www.epa.gov/sites/production/files/2017-10/documents/ndma_fact_sheet_update_9-15-17_508.pdf.
  53
     https://www.epa.gov/sites/production/files/2017-10/documents/ndma_fact_sheet_update_9-15-17_508.pdf.
  54
     https://www.epa.gov/sites/production/files/2017-10/documents/ndma_fact_sheet_update_9-15-17_508.pdf.
  55
     https://www.atsdr.cdc.gov/toxprofiles/tp141.pdf, p. 2.
  56
      See Quartz, A COMMON BLOOD-PRESSURE MEDICINE IS BEING RECALLED BECAUSE OF A TOXIC INGREDIENT,
  https://qz.com/1330936/the-fda-is-recalling-a-common-blood-pressure-drug-because-it-was-mixed-with-ndma/ (last
  accessed June 5, 2019).


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          103.     Other nitrosamines with similar or even more severe carcinogenic risk profiles

  include n-nitrosodiethlamine (“NDEA”), as well as N-nitroso-varenicline.

          104.     Nitrosamines are considered genotoxic compounds, as it contains nitroso groups,

  which are gene-mutating groups. 57

          105.     The pharmaceutical industry has been aware of the potential for the formation of

  nitrosamines in pharmaceutical drugs at least as far back as 2005, or earlier. 58

          106.     In late June 2021, Defendant recalled certain lots of VCDs because of the presence

  of N-nitroso-varenicline and/or other nitrosamines.

          107.     A couple of weeks later, on July 19, 2021, Defendant announced a wider recall of

  additional VCD products due to N-nitroso-varenicline and/or other nitrosamine contamination.

          108.     The recalls were due to the presence of N-nitroso-varenicline above established

  acceptable daily intake levels. The precise levels were not disclosed.

          109.     On September 16, 2021, Pfizer expanded its recall to include all lots of Chantix

  “due to the presence of a nitrosamine[.]” 59


   VI.    Defendant Had Actual and/or Constructive Notice of Nitrosamine Contamination of
          Its Adulterated, Misbranded, and/or Unapproved VCDs
          110.     Neither n-nitroso-varenicline nor other nitrosamines are FDA-approved ingredients

  of Chantix.      Moreover, none of Defendant’s VCDs identify n-nitroso-varenicline or other

  nitrosamines as an ingredient on the products’ labels or elsewhere. This is because these

  nitrosamines are probable human carcinogen active ingredients and are not approved to be

  included in the API. Their inclusion in Defendant’s VCDs renders the VCDs adulterated and



  57
     https://www.pharmaceuticalonline.com/doc/nitroso-impurities-in-valsartan-how-did-we-miss-them-0001.
  58
     http://www.pharma.gally.ch/UserFiles/File/proofs%20of%20article.pdf.
  59
     https://www.fda.gov/safety/recalls-market-withdrawals-safety-alerts/pfizer-expands-voluntary-nationwide-recall-
  include-all-lots-chantixr-varenicline-tablets-due-n


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  misbranded compared to Defendant’s warranties and representations.

            111.   If Defendant had not routinely disregarded the FDA’s cGMPs, or had fulfilled its

  quality assurance obligations, Defendant would have identified the presence of these nitrosamine

  contaminants almost immediately.

            112.   This is certainly true since at least 2018, when many manufacturers of valsartan,

  losartan, and irbesartan instituted massive waves of recalls due to nitrosamine contamination. That

  knowledge alone should have informed Defendant to check its VCDs for nitrosamines then, if not

  sooner.

            113.   21 C.F.R. § 211.110 contains the cGMPs regarding the “Sampling and testing of

  in-process materials and drug products[.]” Subsection (c) states the following:

                   In-process materials shall be tested for identity, strength, quality,
                   and purity as appropriate, and approved or rejected by the quality
                   control unit, during the production process, e.g., at commencement
                   or completion of significant phases or after storage for long periods.

  21 C.F.R. § 211.110(c).

            114.   And as shown above, Defendant’s quality control units are and were responsible

  for approving or rejecting drug products manufactured, processed, packed, or held under contract

  by each API manufacturer.

            115.   Also, as shown above, the quality control units for all of the manufacturing

  Defendant were grossly deficient in fulfilling their responsibilities.

            116.   If these sampling-related and quality-control-related cGMPs were properly

  observed by Defendants, the nitrosamine contamination in Defendant’s VCDs would have been

  discovered almost immediately, and Defendant was thus on (at minimum) constructive notice from

  the moment its VCDs became contaminated.

            117.   However, there are indications that Defendant had actual knowledge of its VCDs’



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  contamination, and certainly not later than Health Canada’s communication to Apotex in 2020.

          118.    And yet, Defendant’s knowingly, recklessly, and/or negligently introduced

  adulterated and/or misbranded VCDs containing dangerous amounts of nitrosamines into the U.S.

  market. Defendant failed to recall their VCDs because they feared permanently ceding market

  share to competitors.

  VII.    Defendant’s Warranties and Fraudulent and Deceptive Statements to Consumers
          Regarding Their VCDs
          119.    Defendant made and breached express and implied warranties and also made

  affirmative misrepresentations and omissions to consumers about their adulterated and/or

  misbranded VCDs.

          120.    The FDA maintains a list of “Approved Drug Products with Therapeutic

  Equivalence Evaluations” known as the Orange Book. 60 The Orange Book is a public document;

  Defendant sought and received the inclusion of their VCD products in the Orange Book upon

  approval of their NDAs.

          121.    Defendant’s VCD(s) is/are accompanied by an FDA-approved label. By presenting

  consumers with an FDA-approved VCD label, Defendant made representations and express or

  implied warranties of the “sameness” of their product to the Orange Book listed Chantix, and that

  its products were consistent with the safety, quality, purity, identity, and strength characteristics

  reflected in the FDA-approved labels and/or were not adulterated and/or misbranded.

          122.    By introducing their VCDs into the United States market as “Chantix,” Defendant

  represent and warrant to end-users that its VCDs are in fact the same as Chantix. Much of the drug

  supply chain, including the most critical components of that supply chain (e.g., end-user patients)


  60
     FDA, APPROVED DRUG PRODUCTS WITH THERAPEUTIC EQUIVALENCE EVALUATIONS (ORANGE BOOK) SHORT
  DESCRIPTION,                                                                                              at
  https://www.fda.gov/drugs/informationondrugs/approveddrugs/approveddrugproductswiththerapeuticequivalenceev
  aluationsorangebook/default.htm (last accessed June 5, 2019).


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  rely on these representations and warranties.

         123.    In addition, Defendant affirmatively misrepresented and warranted to consumers

  through their websites, brochures, and other marketing or informational materials that its VCDs

  complied with cGMPs and did not contain (or were not likely to contain) any ingredients besides

  those identified on the products’ FDA-approved labels.

         124.    The presence of nitrosamines in Defendant’s VCDs: (1) renders Defendant’s VCDs

  non-bioequivalent (i.e., not the same) to listed Chantix, thus breaching Defendant’s express

  warranties of sameness; (2) was the result of gross deviations from cGMPs rendering Defendant’s

  VCDs, thus breaching Defendant’s express warranties of sameness; and (3) results in Defendant’

  VCDs containing an ingredient that is not also contained in the FDA-approved label, also

  breaching Defendant’s express warranty of sameness (and express warranty that the products

  contained the ingredients listed on Defendant’s FDA-approved label). Defendant willfully,

  recklessly, or negligently failed to ensure its VCDs’ labels and other advertising or marketing

  statements accurately conveyed information about their products.

         125.    The presence of nitrosamines in Defendant’s VCDs and serial and willful failures

  to comply with cGMPs and other shortcomings in Defendant’s drug manufacturing processes have

  resulted in Defendant’s VCDs being adulterated and/or misbranded compared to Defendant’s

  representations and warranties.

         126.    At all relevant times, Defendant also impliedly warranted that its VCDs were

  merchantable and fit for their ordinary purposes.

         127.    Naturally, due to their status as probable human carcinogens as listed by both the

  IARC and the U.S. EPA, nitrosamines including NDMA are not FDA-approved ingredients in

  VCDs. The presence of NDMA and other similar nitrosamines or impurities in Defendant’s VCDs

  means that Defendant have violated implied warranties to Plaintiffs and Class Members. The


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  presence of NDMA in Defendant’s VCDs makes Defendant’s VCDs non-merchantable and not fit

  for its ordinary purposes (i.e., as a therapeutically interchangeable generic version of their RLDs),

  breaching Defendant’s implied warranty of merchantability and/or fitness for ordinary purposes.

         128.    For these and other reasons, Defendant’s VCDs are therefore adulterated,

  misbranded, and/or unapproved, and it was illegal for Defendant to have introduced such VCDs

  in the United States. See 21 U.S.C. §§ 331(a), 351(a)(2)(B), 331(g).

         129.    Adulterated, misbranded, and/or unapproved VCDs contaminated with cancer-

  causing compounds are essentially worthless. No reasonable consumer (including Plaintiff) would

  purchase (or reimburse for) these nitrosamine-laden VCDs. Nor could they, as an adulterated,

  misbranded, and/or unapproved VCDs cannot even be legally sold or purchased within the United

  States. At a minimum, adulterated, misbranded, and/or unapproved VCDs were worth less than

  their non-contaminated equivalents. Further, adulterated, misbranded, and/or unapproved VCDs

  do not possess the same safety and efficacy profiles as their branded equivalents. As such, the

  VCDs were not what they were supposed to be.

         130.    Moreover, every consumer (and every TPP’s insured) who purchased and ingested

  VCDs, including Plaintiff (or Plaintiff’s insureds), has been exposed to a non-bargained for

  carcinogenic agent with mutagenic properties that operates at the cellular and sub-cellular levels,

  and may give rise to future potential health consequences.

         131.    Because of the seriousness of the impurity—unsafe levels of a carcinogen— all or

  virtually all patients immediately stopped taking the tainted drug products after receiving notice

  of the recall. They were prescribed a safe alternative. VCDs had no use or value and were thus

  discarded.

 VIII.   Fraudulent Concealment and Tolling
         132.    Plaintiff’s and Class Members’ causes of action accrued on the date the FDA


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  announced the recall of Defendant’s generic VCDs.

         133.    Alternatively, any statute of limitation or prescriptive period is equitably tolled on

  because of fraudulent concealment. Defendant affirmatively concealed from Plaintiff and other

  Class Members its unlawful conduct. Each Defendant affirmatively strove to avoid disclosing their

  knowledge of its cGMP violations with related to their VCDs, and of the fact that their VCDs were

  adulterated and/or misbranded and contaminated with nitrosamines, and were not the same as the

  FDA-approved Chantix.

         134.    For instance, no Defendant revealed to the public that their VCDs contained

  nitrosamines or was otherwise adulterated, misbranded, and/or unapproved, or non-therapeutically

  equivalent to FDA-approved Chantix.

         135.    To the contrary, Defendant continued to represent and warrant that its VCDs were

  actually “Chantix” when they were not the same as Chantix.

         136.    Because of this, Plaintiff and other Class Members did not discover, nor could they

  have discovered through reasonable and ordinarily diligence, Defendant’s deceptive, fraudulent,

  and unlawful conduct alleged herein. Defendant’s false and misleading explanations, or

  obfuscations, lulled Plaintiff and Class Members into believing that the prices paid for their VCDs

  were appropriate for what they believed to be non-adulterated or misbranded drugs despite their

  exercise of reasonable and ordinary diligence.

         137.    As a result of Defendant’s affirmative and other acts of concealment, any applicable

  statute of limitations affecting the rights of Plaintiff and other Class Members has been tolled.

  Plaintiff and/or other Class Members exercised reasonable diligence by among other things

  promptly investigating and bringing the allegations contained herein. Despite these or other

  efforts, Plaintiff was unable to discover, and could not have discovered, the unlawful conduct

  alleged herein at the time it occurred or at an earlier time so as to enable this complaint to be filed


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  sooner.

   IX.      CLASS ACTION ALLEGATIONS
            138.   Plaintiff seeks to represent a Nationwide Class pursuant to Fed. R. Civ. P. 23(a),

  23(b)(2) and 23(b)(3) as defined below:

                   National Class: All individuals and entities in the United States
                   and its territories and possessions who paid any amount of money
                   for a varenicline-containing drug (intended for personal or
                   household use) that was manufactured, distributed, or sold by
                   Defendant.

                   Florida Subclass: All individuals and entities in Florida and its
                   territories and possessions who paid any amount of money for a
                   varenicline-containing drug (intended for personal or household
                   use) that was manufactured, distributed, or sold by Defendant.

            139.   Plaintiff alleges additional sub-classes for all individuals and TPPs in each State,

  territory, or possession – or combination(s) of States, territories, or possessions to the extent class

  members from these jurisdictions can be grouped together for purposes of class treatment – who,

  paid any amount of money out of pocket for a varenicline-containing drug (intended for personal

  or household use) that was manufactured, distributed, or sold by any Defendant (collectively, the

  “Subclasses”).

            140.   Collectively, the foregoing Nationwide Class and the Subclasses are referred to as

  the “Class.”

            141.   Excluded from the Class are: (a) any judge or magistrate presiding over this action,

  and members of their families; (b) Defendant and affiliated entities, and their employees, officers,

  directors, and agents; (c) Defendant’s legal representatives, assigns and successors; and (d) all

  persons who properly execute and file a timely request for exclusion from any Court-approved

  class.

            142.   Plaintiff reserves the right to narrow or expand the foregoing class definition, or to



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  create or modify subclasses as the Court deems necessary.

           143.    Plaintiff meets the prerequisites of Rule 23(a) to bring this action on behalf of the

  Class.

           144.    Numerosity: While the exact number of Class Members cannot be determined

  without discovery, they are believed to consist of potentially millions of Chantix consumers

  nationwide. The Class Members are therefore so numerous that joinder of all members is

  impracticable.

           145.    Existence and predominance of common questions of law and fact: Common

  questions of law and fact exist as to all Class and Subclass Members and predominate over any

  questions affecting on individual Class and Subclass members. These common legal and factual

  questions include, but are not limited to, the following:

           a. Whether Defendant made express or implied warranties of “sameness” to Plaintiff and

              Class Members regarding its VCDs;

           b. Whether Defendant’s VCDs were, in fact, the same as Chantix consistent with such

              express or implied warranties;

           c. Whether Defendant’s VCDs were contaminated with nitrosamines or similar

              contaminants;

           d. Whether Defendant’s VCDs containing nitrosamines or similar contaminants were

              adulterated and/or misbranded;

           e. Whether Defendant violated cGMPs regarding the manufacture of their VCDs;

           f. Whether Defendant falsely claimed that its VCDs were the same as Chantix and thus

              therapeutically interchangeable;

           g. Whether Defendant affirmatively misrepresented or omitted facts regarding its

              compliance with cGMPs;


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         h. Whether Plaintiff and other Class Members have been injured as a result of each

             Defendant’s unlawful conduct, and the amount of their damages;

         i. Whether a common damages model can calculate damages on a class-wide basis;

         j. When Plaintiff’s and Class Members’ causes of action accrued; and

         k. Whether Defendant fraudulently concealed Plaintiff’s and Class Members’ causes of

             action.

         146.    Typicality: Plaintiff’s claims are typical of Class Members’ claims. Plaintiff and

  Class Members all suffered the same type of economic harm. Plaintiff has substantially the same

  interest in this matter as all other Class Members, and their claims arise out of the same set of facts

  and conduct as the claims of all other Class Members.

         147.    Adequacy of Representation: Plaintiff is committed to pursuing this action and

  have retained competent counsel experienced in pharmaceutical litigation, consumer fraud

  litigation, class actions, and federal court litigation. Accordingly, Plaintiff and their counsel will

  fairly and adequately protect the interests of Class Members. Plaintiff’s claims are coincident with,

  and not antagonistic to, those of the other Class Members they seek to represent. Plaintiff has no

  disabling conflicts with Class Members and will fairly and adequately represent the interests of

  Class Members.

         148.    The elements of Rule 23(b)(2) are met. Defendant has acted on grounds that apply

  generally to Class Members so that preliminary and/or final injunctive relief and corresponding

  declaratory relief is appropriate respecting the Class as a whole.

         149.    Superiority: A class action is superior to all other available means for the fair and

  efficient adjudication of this controversy. Although many other Class Members have claims

  against Defendant, the likelihood that individual Class Members will prosecute separate actions is

  remote due to the time and expense necessary to conduct such litigation. Serial adjudication in


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  numerous venues would not be efficient, timely or proper. Judicial resources would be

  unnecessarily depleted by resolution of individual claims. Joinder on an individual basis of

  thousands of claimants in one suit would be impractical or impossible. In addition, individualized

  rulings and judgments could result in inconsistent relief for similarly situated Plaintiff. Plaintiff’s

  counsel, highly experienced in pharmaceutical litigation, consumer fraud litigation, class actions,

  and federal court litigation, foresee little difficulty in the management of this case as a class action.

                                      FIRST COUNT
                              BREACH OF EXPRESS WARRANTIES

            150.   Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth

  herein.

            151.   Plaintiff, and each member of the Class, formed a contract with Defendant at the

  time Plaintiff and the other Class Members purchased the VCDs. The terms of the contract include

  the promises and affirmations of fact made by Defendant on the VCDs’ packaging and through

  marketing and advertising, including that the product would be bioequivalent to the name-brand

  medication, and would be of same “quality” and have the same safety and efficacy profile as the

  RLD. This labeling, marketing, and advertising constitute express warranties and became part of

  the basis of the bargain, and are part of the standardized contract between Plaintiff and the

  members of the Class and Defendants.

            152.   Each Defendant expressly warranted that its VCDs were fit for its ordinary use as

  an FDA-approved generic pharmaceutical that is therapeutically equivalent to and interchangeable

  with their RLDs. In other words, Defendant expressly warranted that their products were the same

  as their RLDs.

            153.   Each Defendant sold VCDs that they expressly warranted were compliant with

  cGMP and not adulterated or misbranded.



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         154.    Each Defendant’s VCDs did not conform to Defendant’s express representations

  and warranties because the product was not manufactured in compliance with cGMP and was

  adulterated and misbranded.

         155.    At all times relevant all fifty States and the District of Columbia and Puerto Rico

  have codified and adopted the provisions of the Uniform Commercial Code governing the implied

  warranty of merchantability and fitness for ordinary purpose: Ala. Code § 7-2-313; Alaska Stat.

  § 45.02.313; Ariz. Rev. Stat. Ann. § 47-2313; Ark. Code. Ann. § 4-2-313; Cal. Com. Code §

  2313; Colo. Rev. Stat. § 4-2-313; Conn. Gen. Stat. Ann. § 42a-2-313; 6 Del. Code. § 2-313; D.C.

  Code. § 28:2-313; Fla. Stat. Ann. § 672.313; Ga. Code. Ann. § 11-2-313; Haw. Rev. Stat. § 490:2-

  313; Idaho Code § 28-2-313; 810 Ill. Comp. Stat. Ann. 5/2-313; Ind. Code Ann. § 26-1-2-313;

  Kan. Stat. Ann. § 84-2-313; Ky. Rev. Stat. Ann. § 355.2-313; 11 Me. Rev. Stat. Ann. § 2-313;

  Md. Code. Ann. § 2-313; Mass. Gen. Law Ch. 106 § 2-313; Mich. Comp. Laws Ann. § 440.2313;

  Minn. Stat. Ann. § 336.2-313; Miss. Code Ann. § 75-2-313; Mo. Rev. Stat. § 400.2-313; Mont.

  Code Ann. § 30-2-313; Nev. Rev. Stat. U.C.C. § 104.2313; N.H. Rev. Ann. § 382-A:2-313; N.J.

  Stat. Ann. § 12A:2-313; N.M. Stat. Ann. § 55-2-313; N.Y. U.C.C. Law § 2-313; N.C. Gen. Stat.

  Ann. § 25-2-313; N.D. Stat. § 41-02-313; Ohio Rev. Code Ann. § 1302.26; Okla. Stat. tit. 12A §

  2-313; Or. Rev. Stat. § 72.3130; 13 Pa. C.S. § 2313; P.R. Laws. Ann. Tit. 31, § 3841, et seq.; R.I.

  Gen. Laws § 6A-2-313; S.C. Code Ann. § 36-2-313; S.D. Stat. § 57A-2-313; Tenn. Code Ann.

  § 47-2-313; Tex. Bus. & Com. Code Ann. § 2-313; Utah Code Ann. § 70A-2-313; Va. Code § 8.2-

  313; Vt. Stat. Ann. 9A § 2-313; W. Va. Code § 46-2-313; Wash. Rev. Code § 62A 2-313; Wis.

  Stat. Ann. § 402.313; and Wyo. Stat. § 34.1-2-313.

         156.    At the time that each Defendant marketed and sold its VCDs, they recognized the

  purposes for which the products would be used, and expressly warranted the products were the

  same as their RLDs, and cGMP compliant and not adulterated or misbranded. These affirmative


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  representations became part of the basis of the bargain in every purchase by Plaintiff and other

  Class Members including but not limited to express representations made in referring to their

  VCDs.

            157.   Each Defendant breached its express warranties with respect to its VCDs as they

  were not of merchantable quality, were not fit for their ordinary purpose, and did not comply with

  cGMP and was adulterated and misbranded.

            158.   Plaintiff and each member of the Class would not have purchased the VCDs had

  they known these drugs were not the same as the RLD, did not contain the same ingredients, did

  not have the same safety and efficacy profile of the RLD, and contained NDMA.

            159.   As a direct and proximate result of each Defendant’s breach of implied warranty,

  Plaintiff and other Class Members have been injured and suffered damages in the amount of the

  purchase price of their medications, the purchase price of any replacement medications, and any

  consequential damages resulting from the purchases, in that the VCDs they purchased were so

  inherently flawed, unfit, or unmerchantable as to have no market value.

                                     SECOND COUNT
                              BREACH OF IMPLIED WARRANTIES

            160.   Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth

  herein.

            161.   At all times relevant all fifty States and the District of Columbia and Puerto Rico

  have codified and adopted the provisions of the Uniform Commercial Code governing the implied

  warranty of merchantability and fitness for ordinary purpose: Ala. Code § 7-2-314; Alaska Stat.

  § 45.02.314; Ariz. Rev. Stat. Ann. § 47-2314; Ark. Code. Ann. § 4-2-314; Cal. Com. Code §

  2314; Colo. Rev. Stat. § 4-2-314; Conn. Gen. Stat. Ann. § 42a-2-314; 6 Del. Code. § 2-314; D.C.

  Code. § 28:2-314; Fla. Stat. Ann. § 672.314; Ga. Code. Ann. § 11-2-314; Haw. Rev. Stat. § 490:2-



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  314; Idaho Code § 28-2-314; 810 Ill. Comp. Stat. Ann. 5/2-314; Kan. Stat. Ann. § 84-2-314; Ky.

  Rev. Stat. Ann. § 355.2-314; La. Civ. Code Ann. Art. § 2520; 11 Me. Rev. Stat. Ann. § 2-314;

  Md. Code. Ann. § 2-314; Mass. Gen. Law Ch. 106 § 2-314; Mich. Comp. Laws Ann. § 440.2314;

  Minn. Stat. Ann. § 336.2-314; Miss. Code Ann. § 75-2-314; Mo. Rev. Stat. § 400.2-314; Mont.

  Code Ann. § 30-2-314; Nev. Rev. Stat. U.C.C. § 104.2314; N.H. Rev. Ann. § 382-A:2-314; N.J.

  Stat. Ann. § 12A:2-314; N.M. Stat. Ann. § 55-2-314; N.Y. U.C.C. Law § 2-314; N.C. Gen. Stat.

  Ann. § 25-2-314; N.D. Stat. § 41-02-314; Ohio Rev. Code Ann. § 1302.27; Okla. Stat. tit. 12A §

  2-314; Or. Rev. Stat. § 72.3140; 13 Pa. C.S. § 2314; P.R. Laws. Ann. Tit. 31, § 3841, et seq.;

  R.I. Gen. Laws § 6A-2-314; S.C. Code Ann. § 36-2-314; S.D. Stat. § 57A-2-314; Tenn. Code

  Ann. § 47-2-314; Tex. Bus. & Com. Code Ann. § 2-314; Utah Code Ann. § 70A-2-314; Va. Code

  § 8.2-314; Vt. Stat. Ann. 9A § 2-314; W. Va. Code § 46-2-314; Wash. Rev. Code § 62A 2-314;

  Wis. Stat. Ann. § 402.314; and Wyo. Stat. § 34.1-2-314.

         162.    Each Defendant was a merchant within the meaning of the above statutes.

         163.    Each Defendant’s VCDs constituted “goods” or the equivalent within the meaning

  of the above statutes.

         164.    Each Defendant was obligated to provide Plaintiff and other Class Members

  reasonably fit VCDs for the purpose for which the product was sold, and to conform to the

  standards of the trade in which Defendant are involved such that the product was of fit and

  merchantable quality.

         165.    Each Defendant knew or should have known that its VCDs were being

  manufactured and sold for the intended purpose of human consumption as a therapeutic equivalent

  to their RLDs (or is strictly liable in the event of lack of actual or constructive knowledge), and

  impliedly warranted that their VCDs were of merchantable quality and fit for that purpose.

         166.    Each Defendant breached its implied warranty because each Defendant’s VCDs


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  were not of merchantable quality, nor fit for the product’s ordinary purpose, and did not conform

  to the standards generally applicable to such goods.

            167.   Plaintiff and other Class members purchased the VCDs in reliance upon

  Defendant’s skill and judgment and the implied warranties of fitness for the purpose.

            168.   The VCDs were not altered by Plaintiff or Class members.

            169.   As a direct and proximate result of each Defendant’s breach of implied warranty,

  Plaintiff and other Class Members have been injured and suffered damages, in that Defendant’s

  VCDs they purchased was so inherently flawed, unfit, or unmerchantable as to have significantly

  diminished or no intrinsic market value.

                                    THIRD COUNT
                    MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. § 2301, ET SEQ.

            170.   Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth

  herein.

            171.   Each Defendant is a “warrantor” within the meaning of the Magnuson-Moss

  Warranty Act.

            172.   Plaintiff and other Class Members are “consumers” within the meaning of the

  Magnuson-Moss Warranty Act.

            173.   Each Defendant expressly or impliedly warranted their VCDs as alleged in the First

  and Second Causes of Action.

            174.   Under 15 U.S.C. § 2310(d)(1), Plaintiff and Other Class Members were “damaged

  by the failure of a supplier, warrantor, or service contractor to comply with any obligation under

  this chapter, or under a written warranty, implied warranty, or service contract, may bring suit for

  damages and other legal and equitable relief.” 15 U.S.C. § 2310(d)(1). Plaintiff sues pursuant to

  this section to recover money damages and for legal and equitable relief on behalf of itself and the



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  Class Members.

            175.   No Defendant has acted on the opportunity to cure its failure with respect to its

  warranted VCDs.

            176.   Likewise, pursuant to 15 U.S.C. § 2310(d)(2), upon prevailing in this action,

  Plaintiffs are entitled to receive an award of attorneys’ fees and expenses and pray for the same.



                                           FOURTH COUNT
                                              FRAUD

            177.   Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth

  herein.

            178.   Defendant affirmatively misrepresented material facts including, inter alia, that

  their VCDs were therapeutically equivalent to their RLDs and/or complied with cGMPs and/or

  were not adulterated and/or misbranded.

            179.   Defendant omitted material facts including, inter alia, that their VCDs were not

  therapeutically equivalent to their RLDs and did not comply with cGMPs and/or were adulterated,

  misbranded, and/or unapproved.

            180.   Defendant’s actions had the effect of fraudulently inducing customers to pay in

  whole or in part for Defendant’s VCDs – products which Defendant knew or should have known

  were not therapeutically equivalent to their RLDs and/or did not comply with cGMPs and/or were

  adulterated and/or misbranded. Plaintiffs and other Class Members would not have purchased

  Defendant’s VCDs had they known the truth. Indeed, Plaintiff and other Class Members could not

  have paid for Defendant’s VCDs had they known the truth because Defendant’s VCDs were

  illegally manufactured, illegally imported, illegally distributed, and illegally sold to Plaintiffs and

  Class Members based on Defendant’s fraudulent misrepresentations and omissions.



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         181.    Defendant knew, or reasonably should have known, that their misrepresentations

  were materially false or misleading, or that the omission of material facts rendered such

  representations false or misleading.

         182.    Defendant also knew, or had reason to know, that their misrepresentations and

  omissions would induce Class members to pay for some or all of the cost of Defendant’s VCDs.

         183.    Defendant’s misrepresentations and omissions were material.

         184.    Defendant’s actively concealed their misrepresentations and omissions from the

  Class, government regulators, and the public.

         185.    To the extent applicable, Defendant intended their misrepresentations and

  omissions to induce Plaintiffs and other Class Members to pay for Defendant’s VCDs.

         186.    But for these misrepresentations and omissions, Plaintiff and other Class Members

  would not have paid for Defendant’s VCDs.

         187.    To the extent applicable, Plaintiff and other Class Members were justified in relying

  on Defendant’s misrepresentations and omissions.           The same or substantively identical

  misrepresentations and omissions were communicated, to each Class member, including through

  product labeling and other statements by Defendants. No reasonable consumer would have paid

  what they did for Defendant’s VCDs but for Defendant’s unlawful conduct. To the extent

  applicable, reliance may be presumed in these circumstances.

         188.    Plaintiff and other Class Members were damaged by reason of Defendant’s

  misrepresentations and omissions alleged herein.



                                      FIFTH COUNT
                        NEGLIGENT MISREPRESENTATION AND OMISSION

         189.    Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth



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  herein.

            190.   Each Defendant had or undertook a duty to represent to the quality, nature, and

  characteristics of its VCDs accurately and truthfully.

            191.   Each Defendant failed to exercise ordinary care in making representations (or in

  failing to disclose facts) concerning the quality, nature, and characteristics of its VCDs.

            192.   Each Defendant negligently misrepresented or omitted facts regarding the quality,

  nature, and characteristics of its VCDs.

            193.   Each Defendant’s statements were false at the time the misrepresentations were

  made (or at the time omissions were not made).

            194.   Each Defendant knew, or reasonably should have known, that its representations

  alleged herein were materially false or misleading, or that omission of material facts rendered such

  representations false or misleading. Each Defendant also knew, or had reason to know, that its

  misrepresentations and omissions would induce Class members to make purchases of each

  Defendant’s VCDs.

            195.   As a direct and proximate result of each Defendant’s acts and omissions described

  herein, Plaintiffs and other Class Members have suffered harm, and will continue to do so.

            196.   Each Defendant’s misrepresentations or omissions were material and a substantial

  factor in Plaintiffs’ and other Class Members’ paying for VCDs.

            197.   Each Defendant intended its misrepresentations or omissions to induce Plaintiff and

  Class members to make purchases of VCDs, , or had reckless disregard for same.

            198.   But for these misrepresentations (or omissions), Plaintiff and other Class Members

  would not have made purchases of Defendant’s VCDS.

            199.   Plaintiff and other Class Members were justified in relying on Defendant’s

  misrepresentations or omissions. The same or substantively identical misrepresentations were


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  communicated, and/or the same or substantively identical omissions were not communicated, to

  each Class Member.

            200.   Plaintiff and other Class Members were damaged by reason of each Defendant’s

  misrepresentations or omissions alleged herein.



                                    SIXTH COUNT
                   VIOLATION OF STATE CONSUMER PROTECTION LAWS

            201.   Plaintiff re-alleges and incorporate the preceding paragraphs as if fully set forth

  herein.

            202.   Each Defendant has violated the consumer protection statutes as follows:

                   a.     Defendant have engaged in unfair competition or unfair or deceptive acts or

                          practices in violation of Ala. Code § 8-19-1, et seq.;

                   b.     Defendant have engaged in unfair competition or unfair or deceptive acts or

                          practices in violation of Alaska Stat. § 45.50.471, et seq.;

                   c.     Defendant have engaged in unfair competition or unfair or deceptive acts or

                          practices in violation of Arizona Rev. Stat. § 44-1522, et seq.;

                   d.     Defendant have engaged in unfair competition or unfair or deceptive acts or

                          practices in violation of Ark. Code § 4-88-101, et seq.;

                   e.     Defendant have violated the California Unfair Competition Law by

                          engaging in unfair or deceptive acts or practices in violation of Cal. Bus.

                          Prof. Code § 17200, et seq.;

                   f.     Defendant have violated the California Consumers Legal Remedies Act,

                          Cal. Civ. Code §§ 1750, et seq.;

                   g.     Defendant have violated the California False Advertising Law, Cal. Bus. &



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                    Prof. Code §§ 17500, et seq.

              h.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of Colo. Rev. Stat. § 6-1-105, et seq.;

              i.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of Conn. Gen. Stat. § 42-110b, et seq.;

              j.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of 6 Del. Code § 2511, et seq.;

              k.    Defendant have engaged in unfair competition or unfair or deceptive acts

                    or practices in violation of D.C. Code § 28-3901, et seq.;

              l.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of Fla. Stat. § 501.201, et seq.;

              m.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of Ga. State 10-1-392, et seq.;

              n.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of Haw. Rev. Stat. § 480, et seq.;

              o.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of Idaho Code § 48-601, et seq.;

              p.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation 815 ILCS 505/1, et seq.;

              q.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of Ind. Code Ann. § 24-5-0.5.1, et seq.;

              r.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of Iowa Code Ann. § 714H, et seq.;

              s.    Defendant have engaged in unfair competition or unfair or deceptive acts or


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                    practices in violation of Kan. Stat. § 50-623, et seq.;

              t.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of Ky. Rev. Stat. § 367.110, et seq.;

              u.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of La. Rev. Stat. § 51:1401, et seq.;

              v.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of 5 Me. Rev. Stat. § 207, et seq.; Defendant have

                    engaged in unfair competition or unfair or deceptive acts or practices in

                    violation of Md. Com. Law Code § 13-101, et seq.;

              w.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of Mass. Gen. L. Ch. 93A, et seq.;

              x.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of Mich. Stat. § 445.901, et seq.;

              y.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of Minn. Stat. § 325F.67, et seq.;

              z.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of Miss. Code Ann. § 75-24-1, et seq.;

              aa.   Defendant have engaged in unfair competition or unfair or deceptive acts

                    or practices in violation of Vernon’s Mo. Rev. Stat. § 407.0 10, et seq.;

              bb.   Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of Mont. Code § 30-14-101, et seq.;

              cc.   Defendant have engaged in unfair competition or unfair or deceptive acts

                    or practices in violation of Neb. Rev. Stat. § 59-1601, et seq.;

              dd.   Defendant have engaged in unfair competition or unfair or deceptive acts or


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                    practices in violation of Nev. Rev. Stat. § 598.0903, et seq.;

              ee.   Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of N.H. Rev. Stat. § 358-A:1, et seq.;

              ff.   Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of N.J. Stat. Ann. § 56:8-1, et seq.;

              gg.   Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of N.M. Stat. Ann. § 57-12-1, et seq.;

              hh.   Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of N.Y. Gen. Bus. Law § 349, et seq.;

              ii.   Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of N.Y. Gen. Bus. Law § 350, et seq.;

              jj.   Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of N.C. Gen. Stat. § 75-1.1, et seq.;

              kk.   Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of N.D. Cent. Code § 51-15-01, et seq.;

              ll.   Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of Ohio Rev. Stat. § 1345.01, et seq.

              mm.   Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of Okla. Stat. tit. 15 § 751, et seq.;

              nn.   Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of Or. Rev. Stat. § 646.605, et seq.;

              oo.   Defendant have engaged in unfair competition or unfair or deceptive acts or

                    practices in violation of 73 Pa. Stat. § 201-1, et seq.;

              pp.   Defendant have engaged in unfair competition or unfair or deceptive acts or


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                     practices in violation of R.I. Gen. Laws § 6-13.1-1, et seq.;

              qq.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                     practices in violation of S.C. Code Laws § 39-5-10, et seq.;

              rr.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                     practices in violation of S.D. Code Laws § 37-24-1, et seq.;

              ss.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                     practices in violation of Tenn. Code § 47-18-101, et seq.;

              tt.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                     practices in violation of Tex. Bus. & Com. Code § 17.41, et seq.;

              uu.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                     practices in violation of Utah Code Ann. § 13-11-1, et seq.;

              vv.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                     practices in violation of Vt. Stat. Ann. Tit. 9, § 2451, et seq.;

              ww.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                     practices in violation of Va. Code § 59.1-196, et seq.;

              xx.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                     practices in violation of Wash. Rev. Code § 19.86.010, et seq.; Defendant

                     have engaged in unfair competition or unfair or deceptive acts or practices

                     in violation of W. Va. Code § 46A-6-101, et seq.;

              yy.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                     practices in violation of Wis. Stat. § 100.20, et seq.;

              zz.    Defendant have engaged in unfair competition or unfair or deceptive acts or

                     practices in violation of Wyo. Stat. § 40-12-100, et seq.; and

              aaa.   Defendant have engaged in unfair competition or unfair or deceptive acts or


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                          practices in violation of 23 L.P.R.A. § 1001, et seq., the applicable statute

                          for the Commonwealth of Puerto Rico.

            203.   Each Defendant’s conduct constitutes trade or commerce or other actionable

  activity within the meaning of the above statutes.

            204.   Each Plaintiff and other Class Member is a consumer or person aggrieved by

  Defendant’s misconduct within the meaning of the above statutes.

            205.   To the extent applicable, each Defendant knew, intended, or should have known

  that their fraudulent and deceptive acts, omissions, or concealment would induce reliance and that

  reliance can be presumed under the circumstances. As a direct and proximate result of Defendant’s

  unfair methods of competition and unfair or deceptive acts or practices, Plaintiff and other Class

  Members have suffered damages– an ascertainable loss – in an amount to be proved at trial.

                                         SEVENTH COUNT
                                       UNJUST ENRICHMENT

            206.   Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth

  herein.

            207.   As alleged herein, Defendant were unjustly enriched at the expense of Plaintiffs

  and other Class Members by virtue of the latter’s paying for Defendant’s VCDs.

            208.   Defendant profited immensely from introducing a carcinogen into the United States

  for human consumption. On top of that, because Defendant’s VCDs were adulterated and

  misbranded, their distribution and sale in the United States was illegal.

            209.   Plaintiff and other Class Members were unjustly deprived of money obtained by

  Defendant as a result of the improper amounts paid for Defendant’s VCDs. It would be inequitable

  and unconscionable for Defendant to retain the profit, benefit, and other compensation obtained

  from Plaintiff and other Class Members as a result of their wrongful conduct alleged in this Master



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  Complaint. There is no adequate remedy at law for Plaintiff and other Class members.

            210.   Plaintiff and other Class Members are entitled to seek and do seek restitution from

  Defendant as well as an order from this Court requiring disgorgement of all profits, benefits, and

  other compensation obtained by Defendant by virtue of its wrongful conduct.


                                           EIGHTH COUNT
                                            NEGLIGENCE

            211.   Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth

  herein.

            212.   Each Defendant owed a duty to Plaintiff and the Class to use and exercise

  reasonable and due care in the manufacturing of its VCDs.

            213.   Each Defendant owed a duty to Plaintiff and the Class to ensure that the VCDs it

  sold in the United States were therapeutically equivalent to their RLDs and complied with cGMPs

  and were not adulterated or misbranded.

            214.   Each Defendant owed a duty to care to Plaintiff and the Class because they were

  the foreseeable, reasonable, and probable user of VCDs and victim of each Defendant’s fraudulent

  and deceptive activities. Each Defendant knew, or should have known, that its VCDs were not

  therapeutically equivalent to their RLDs and did not comply with cGMPs and were adulterated

  and misbranded, and each was in the best position to uncover and remedy these shortcomings.

            215.   Each Defendant failed to do this. Each Defendant inadequately oversaw the

  manufacture and sale of its own VCDs. Each Defendant knew that ignoring the manufacturing

  issues surrounding its VCDs would damage Plaintiffs and the Class and increase its own profits.

            216.   Each Defendant maintained or should have maintained a special relationship with

  Plaintiffs and the Class, as they were obligated to ensure that its VCDs complied with cGMPs and

  was not adulterated or misbranded.


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            217.   Each Defendant’s own actions and inactions created a foreseeable risk of harm to

  Plaintiff and the Class. Each Defendant’s misconduct included, but was not limited to, failing to

  oversee actions taken in the manufacture and sale of its VCDs.

            218.   Each Defendant breached duties owed to Plaintiff and the Class by failing to

  exercise reasonable care sufficient to protect the interests and meet the needs of Plaintiff and the

  Class.

            219.   As a direct and proximate result of each Defendant’s negligent conduct, Plaintiff

  and the Class has suffered injury and are entitled to damages in an amount to be proven at trial.


                                          NINTH COUNT
                                        NEGLIGENCE PER SE

            220.   Plaintiff re-alleges and incorporates the preceding paragraphs as if fully set forth

  herein.

            221.   Each Defendant owed a duty to Plaintiff and the Class to use and exercise

  reasonable and due care in the manufacturing of its VCDs.

            222.   Each Defendant owed a duty to Plaintiff and the Class to ensure that the VCDs it

  sold in the United States were therapeutically equivalent to their RLDs and complied with cGMPs

  and were not adulterated or misbranded.

            223.   Each Defendant owed a duty to Plaintiff and the Class because each state, territory,

  and possession has adopted /or adheres to federal cGMP and adulteration standards, including but

  not limited to the following parallel state statutes:

               •   Alabama Code §§ 20-1-24 and -27(1);
               •   Alaska Statutes § 17.20.290(a)(1);
               •   Arizona Statutes §§ 32-1965(1), (2) and -1966(3);
               •   Arkansas Code § 20-56-215(1);



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           •   California Health and Safety Code §§ 111295 and 111400;
           •   Colorado Statutes §§ 25-5-403(1)(a),(b) and -414(1)(c);
           •   Title 16, Delaware Code §§ 3302 and 3303(2);
           •   District of Columbia Code § 48-702(2);
           •   Florida Statutes §§ 499.005(1) and .006(3);
           •   Georgia Code § 26-3-3(1);
           •   Hawaii Revised Statutes §§ 328-6(1) and -14(1)(B)(ii);
           •   Idaho Code § 37-115(a);
           •   Chapter 410, Illinois Statutes §§ 620/3.1 and /14(a)(2)(B);
           •   Iowa Code §§ 126.3(1) and .9(1)(c);
           •   Kentucky Statutes § 217.175(1);
           •   Maryland Code, Health–General §§ 21-216(c)(5)(2) and -256(1);
           •   Massachusetts General Laws chapter 94 §§ 186 and 190;
           •   Minnesota Statutes §§ 151.34(1) and .35(1);
           •   Missouri Statutes § 196.015(1);
           •   Montana Code §§ § 50-31-305(3) and -501(1);
           •   Nebraska Revised Statutes §§ 71-2461(2) and -2481;
           •   Nevada Statutes § 585.520(1);
           •   New Hampshire Revised Statutes §§ 146:1(I) and :4(V);
           •   New Mexico Statutes §§ 26-1-3(A) and -10(A);
           •   New York Education Law § 6811;
           •   North Dakota Century Code §§ 19-02.1-02(1) and .1-13(3);
           •   Ohio Code § 3715.52(A)(1);
           •   Oklahoma Statutes title 63 § 1-1402(a);
           •   Title 35, Pennsylvania Statutes § 780-113(a)(1);
           •   Title 21, Rhode Island General Laws § 21-3-3(1);
           •   South Carolina Code §§ 39-23-30(a)(2)(B) and -80(A)(1);
           •   South Dakota Code §§ 39-15-3 and -10;
           •   Title 18, Vermont Statutes § 4052(1);
           •   Virginia Code § 54.1-3457(1);


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               •   West Virginia Code §§ 16-7-1 and -2(a)(3); and
               •   Wyoming Statutes §§ 35-7-111(a)(i)–(iv), (vi) and -116.

         224.      Each Defendant failed to comply with federal cGMPs and federal adulteration

  standards.

         225.      As a result of each Defendant’s failures to do so, each Defendant’s own actions and

  inactions created a foreseeable risk of harm to Plaintiff and the Class.

         226.      As a direct and proximate result of each Defendant’s negligent conduct, Plaintiff

  and the Class have suffered injury and are entitled to damages in an amount to be proven at trial.


                                          TENTH COUNT
                                       MEDICAL MONITORING

         227.      Plaintiff repeats and re-alleges the preceding paragraphs as if fully set forth herein.

         228.      Each Defendant owed a duty to Plaintiff and the Classes to use and exercise

  reasonable and due care in the manufacturing, testing, distribution, labeling, marketing, warnings,

  disclosures, and sale of its VCDs.

         229.      Each Defendant owed a duty to Plaintiff and the Classes to ensure that the VCDs it

  sold in the United States were not contaminated, contained only the ingredients stated in the label,

  were therapeutically equivalent to brand Chantix, and/or complied with cGMPs, and/or was not

  contaminated or adulterated.

         230.      Each Defendant owed a duty of care to Plaintiff and the Classes because they were

  the foreseeable, reasonable, and probable users of VCDs. Each Defendant knew, or should have

  known, that its product was contaminated with nitrosamines, did not contain only the ingredients

  stated, was not therapeutically equivalent to Chantix and/or did not comply with cGMPs, and/or

  were contaminated, adulterated, and each was in the best position to uncover and remedy these

  shortcomings.

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         231.    Defendant negligently manufactured and/or distributed and/or sold the VCDs at

  issue, causing or failing to detect and prevent contamination with nitrosamines, which are

  carcinogens.

         232.    Each Defendant failed to discharge its duties of reasonable care. Each Defendant

  inadequately conducted or oversaw the manufacture, testing, labeling, distribution, marketing,

  warnings, disclosures, and sale of the VCDs. Each Defendant knew that the aforesaid wrongdoing

  would damage Plaintiff and other Class Members.

         233.    Each Defendant negligently failed to promptly and immediately warn and disclose

  to Plaintiff and other Class Members, and the medical and regulatory communities, of the potential

  and actual contamination with nitrosamines as soon as it was discovered, delaying notice of this

  harmful and potentially fatal toxic exposure to a carcinogen and thus causing continued exposure

  to the carcinogenic contamination, and delaying necessary testing, examinations, surveillance, and

  treatment.

         234.    Defendant’s negligent or grossly negligent conduct created and then exacerbated

  an unreasonable, dangerous condition for Plaintiff and other Class Members.

         235.    Defendant acted with recklessness and willful and wanton disregard for the health

  of Plaintiff and other Class Members.

         236.    Each Defendant’s own unreasonable, negligent actions and inactions were taken or

  not taken with willful and wanton disregard for the health of Plaintiff and other Class Members

  and created a foreseeable risk of harm to Plaintiff and other Class Members.

         237.    As a direct and proximate result of each Defendant’s negligent conduct, Plaintiff

  and other Class Members have suffered cellular and genetic injury that creates and/or increases

  the risk that Plaintiffs will develop cancer, necessitating notice to all Class Members, sufficient

  funding for the tests and evaluations of each Class Member, and sufficient funding for necessary


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  ongoing tests, evaluations, and treatment.

          238.    Plaintiff and Class Members seek compensatory damages for, and the creation of a

  fund to adequately finance the costs of, medical monitoring procedures (1) to notify and alert all

  people exposed to nitrosamine contaminants as aforesaid of their exposure and the potential

  consequences, (2) to provide for necessary testing and screening including but not limited to blood

  tests, physical examinations, imaging, colonoscopies, endoscopies, and other similar methods for

  examination, biopsies, pathologic, histologic, and oncologic evaluations, oncologic, histologic,

  surgical and other necessary medical consultations, (3) to provide for necessary medical and

  surgical procedures for diagnosis and treatment, (4) to provide for all necessary evaluations and

  treatment, attorneys’ fees, costs, interest, and such further relief as the Court deems equitable and

  just.

                                      PRAYER FOR RELIEF
          For these reasons, Plaintiff prays for the following judgment:

                 A.      An order certifying this action as a class action;

                 B.      An order appointing Plaintiff as Class Representative, and appointing

          undersigned counsel as Class Counsel to represent the Class;

                 C.      A declaration that Defendant is liable under each and every one of the

          above-enumerated causes of action;

                 D.      An order awarding appropriate preliminary and/or final injunctive relief

          against the conduct of Defendant described above;

                 E.      Payment to Plaintiff and Class Members of all damages, exemplary or

          punitive damages, and/or restitution associated with the conduct for all causes of action in

          an amount to be proven at trial, including but not limited to the full amounts paid or

          reimbursed for the VCDs; the costs to replace or return VCDs because of recalls; and/or


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        the increases in the amounts paid for non-adulterated, non-misbranded, VCDs in the wake

        of the recalls;

               F.         An award of attorneys’ fees, expert witness fees, and costs, as provided by

        applicable law and/or as would be reasonable from any recovery of monies recovered for

        or benefits bestowed on the Class Members;

              G.          An award of statutory penalties to the extent available;

              H.          The creation of a medical monitoring fund and/or program that is reasonably

        necessary to detect the elevated cancer risk, and/or ;

               I.         Interest as provided by law, including but not limited to pre-judgment and

        post-judgment interest as provided by rule or statute; and

               J.         Such other and further relief as this Court may deem just, equitable, or

        proper.

                                           JURY DEMAND
        Plaintiff respectfully requests a trial by jury on all causes of action so triable.



        Dated: October 12, 2021

                                                 Respectfully Submitted,


                                                 /s/ Yitzhak S. Levin
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